    Case 5:17-cv-05059-JLV Document 4 Filed 07/24/17 Page 1 of 5 PageID #: 31




         IN THE UNITED STATES DISTRICT
    COURT DISTRICT OF SOUTH DAKOTA


AZAEL DYTHIAN PERALES et al..

                                                                      FILED
                         (PlaintifTs)
                                                                      JUL 2 <1 2017

                                                                             'CLERK
                   Vs.




Judicial Council of California et al..

Governmental Affairs

770 L Street, Suite 1240

Sacramento, CA 95814-3368



HON. TANI CANTIL-SAKAUYE e.g.

Chief Justice of California

Chair ofthe Judicial Council




MARTIN HOSHINO

Administrative Director



General Advocacy Cory Jasperson e.g.,

Laura Speed e.g.

Access to Justice/Self-represented Litigants -Alan Herzfeld e.g.
Appellate Law- Daniel Pone e.g
Bench-Bar Coalition - Laura Speed e.g.

Budget - Cory Jasperson e.g.
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Andi Liebenbaum e.g.
Civil Procedure - Daniel Pone e.g.
Conununications Liaison - Laura Speed e.g.
Court Closures/Service Reduction - Laura Speed e.g.
Court Facilities - Cory Jasperson e.g.
Court Interpreters - Alan Herzfeld e.g.
Court Reporters - Alan Herzfeld e.g.

Court Security - Sharon Reilly e.g.
Criminal Procedure - Sharon Reilly e.g.
Day on the Bench - Laura Speed e.g.
Employment Issues (trial court labor, court staff, retirement- Laura Speed e.g.
Family Law - Alan Herzfeld e.g.
Fiscal Impact ofLegislation/Appropriations - Andi Liebenbaum e.g.
Judgeships and Subordinate Judicial Officers - Alan Herzfeld e.g.
Judicial Administration Fellowship Program - Laura Speed e.g.
Judicial Conduct - Laura Speed e.g.
Judicial Education- Laura Speed e.g.
Judicial Elections - Laura Speed e.g.
Judicial Service - Laura Speed e.g.
Jury Issues - Sharon Reilly e.g.

Daniel Pone e.g.


Juvenile Delinquency - Alan Herzfeld e.g.
Juvenile Dependency Alan Herzfeld e.g.
Probate and Mental Health Daniel Pone e.g.

Redistricting/Judicial Redistricting- Laura Speed e.g.
State Bar/Practice ofLaw - Daniel Pone e.g.
Traffic Law - Sharon Reilly e.g.
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& Andi Liebenbaum e.g.

California Supreme Court et al.,
350 McAllister St,
Room 1295
San Francisco, CA 94102

Chief Justice Tani Goite Cantil-Sakauye e.g^
Honorable Kathryn M. Werdegar
Honorable Ming W. Chin
Honorable Carol A. Comgan
Honorable Goodwin H. Liu
Honorable Mariano-Florentino Cuellar
Honorable Leondra.R.^Kiuger

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San Francisco, CA 94102

U.S. Department ofthe Treasury et al,
200 Bush Street, Suite 101
San Francisco, CA 94104

U.S. Department ofthe Treasury et al.,
300 N. Los Angeles Street, Suite 4334
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Kevin Riley, Director- Meredith McDaniel, Supervisory Auditor-
 Kyle Bambrough,-Lead Auditor
Frank O'Connor, Senior Auditor
Commissioner Office ofthe Commissioner- Attn: Chief of Staff Chief Agency-Wide Shared
Services Director, Facilities Management and Security Services Director, Office of Audit
Coordination
    Case 5:17-cv-05059-JLV Document 4 Filed 07/24/17 Page 4 of 5 PageID #: 34



Gregory D. Kutz, Acting Deputy Inspector General for Inspections and Evaluations Phil
Shropshire, Director Heather Hill, Supervisory Evaluator Earl Charles Bumey,Lead Program
Analyst Gene Luevano, Senior Auditor
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Services and Enforcement SE Director, Collection, Small Business/Self-Employed Division
SE;S:C Director, Office of Audit Coordination OS:PPAC

U.S. Department Of The Treasury, Internal Revenue Service
Atlanta, GA 30308
Michael E. McKenney Deputy Inspector General for Audits
COMMISSIONER, WAGE AND INVESTMENT DIVISION



Kenneth C. Corbin, Commissioner-Wage and Investment Division
Russell P. Martin, Assistant Inspector General for Audit(Returns Processing and Account
Services) Deann L. Baiza, Director Kathleen A. Hughes, Audit Manager Linda M. Valentine,
Lead Auditor Tracy M. Hernandez, Senior Auditor Lance J. Welling, Information Technology
Specialist(Data Analytics) Nathan J. Cabello, Auditor
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& All Related Defendants

                                    (Defendants)


                                         MOTION
            TO ADMIT NEW RELATED CASES & INVOKE 28 U.S.C. §292(a)

Plaintiff respectfully motion the honorable United States District Court for the District of South
Dakota and the Honorable Chief Judge pursuant to 28 U.S.C. § 292(a), to act as the presiding
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jurist to hear and decide this case before the honorable United States District Court for the
District ofSouth Dakota composed ofthree judges .I respectfully motion the court pursuant to
28 U.S.C. § 292(a)to include the Hon. Lawrence L. Piersol & Hon. Charles B. Kommann in the
event one or more ofthese honorable judges are unavailable at the time the court may convene to
hear the case before the court, I respectfully ask the Chief Judge to please use his or her
discretion to replace the Honorable Judge. Plaintiff respectfully motions the court to please admit
new related cases citing prima facie evidence. The Plaintiff is asserting factual content that
allows the court to draw the reasonable inference that the Defendants is liable for misconduct
alleged. "Id. The allegations in this complaint before the court and related cases rise above mere
speculation, and discovery will reveal evidence of my allegations are true and factual. In
determining whether this standard is satisfied, the court must accept all factual allegations in the
related cases as true and construe them in the light most favorable to the Plaintiff. Knievel v.
ESPN, 393 P.3d 1068, 1072(9^ Cir.2005), the cases admit are as follows,
    1.) U.S. Supreme Court Filed 12/31/2010
    2.) Utah Supreme Court Filed 11/09/2010
    3.) U.S. Court of Appeals for Veterans Claims Case No. 10-2170
   4.) U.S. District Court Eastern District of California Case No. 2:ll-cv-01261-LKK-GGH
   5.) U.S. District Court Central District of California Case No.SACV09-l 128
   6.) San Francisco Grand Jury(RE; Rep. Nancy Pelosi)

   7.) Fresno County Grand Jury(RE: U.S. Sen. Barbara Boxer & U.S. Senator Dianne
       Fienstein
   8.) U.S. District Court Central District of California Case No.8:2012-cv-00421
   9.) U.S. District Court Central District of California Case No.8:2012-cv-00221
   10.)United States District Court Massachusetts Case No.1:201 l-cv-1227
    11.)U.S. District Court Central District of California Case No.8:17-cv-01005
     11.)U.S. District Court Central District of California Case No.8:17-cv-01039-AG-JCG
   thank you.




Date: July 20. 2017                           Signature

                                                  Name: AZAEL DYTHIAN PERALES
                                                                  (Typed or Print)


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